Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 1 of 6 PageID #: 3669



                 IN THE UNITED STATES DISTRICT FOR THE
                      EASTERN DISTRICT OF TEXAS,
                           SHERMAN DIVISION

   JASON LEE VAN DYKE,             §
       Plaintiff,                  §
   v.                              §
                                   §
   THOMAS CHRISTOPHER              §                          NO. 4:18-CV-247-ALM
   RETZLAFF, a/k/a DEAN            §
   ANDERSON, d/b/a BV FILES, VIA   §
   VIEW FILES, L.L.C., and VIAVIEW §
   FILES,                          §
        Defendants                 §

    RETZLAFF’S MOTION TO QUASH PLAINTIFF’S INVALID SUBPOENA DUCES
                        TECUM TO WORDPRESS

                                     I. INTRODUCTION

            1.   Plaintiff is Jason Van Dyke, a licensed attorney, pro se; defendant is

   Thomas Retzlaff.

            2.   This case is set for trial during the period January 4-29, 2021.

                        II. FACTS PERTINENT TO THIS MOTION

            3.   On March 27, 2020, Van Dyke signed a subpoena duces tecum to

   nonparty witness Automattic, Inc., d/b/a Wordpress, seeking documents designed

   to destroy the anonymity of the authors of the blog “BV Files.” Exhibit 1.

            4.   Van Dyke is not authorized to sign subpoenas issued from this

   Court.

            5.   Because Van Dyke’s subpoena is invalid, Retzlaff moves the Court

   to quash the subpoena and protect Retzlaff from the discovery Van Dyke seeks.
Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 2 of 6 PageID #: 3670



                                             III. ARGUMENT & AUTHORITIES

               6.          An attorney may issue and sign a subpoena only if he is authorized

   to practice in the issuing court. FED. R. CIV. P. 45(a)(3); 2013 Notes to FRCP 45

   at ¶ 2. Retzlaff does not dispute that Van Dyke is presently a licensed, practicing

   attorney in Texas.                    However, although Van Dyke was formerly admitted to

   practice in the U.S. District Court for the Eastern District of Texas, Van Dyke is

   not currently admitted. Here is why.

               7.          A member of the Eastern District bar “shall automatically lose” his

   membership if he loses, either temporarily or permanently, “the right to practice

   law before any state or federal court for any reason other than nonpayment of

   dues.” Local Rule AT-2(b)(1) [emphasis added]. On March 1, 2019, Van Dyke

   temporarily lost his right to practice law in the state of Texas (for threatening to

   murder defendant Thomas Retzlaff). Exhibit 2. Therefore, as of March 1, 2019,

   Van Dyke “automatically” lost his membership to practice before this Court.

               8.          Retzlaff does not dispute that Van Dyke recently regained his right

   to practice law in Texas. However, Van Dyke’s membership in the bar of this

   Court was not automatically reinstated when the suspension of his Texas license

   was lifted. Local Rule AT-2(f). Van Dyke has not reapplied for or regained

   admission to the bar of this Court.

               9.          Because Van Dyke was not a member of the bar of this Court when

   he signed the subpoena to Wordpress on March 27, 2020, Exhibit 1, the subpoena

   is invalid. The Court should quash it.

   Van Dyke v. Retzlaff
              Retzlaff’s Motion to Quash Plaintiff’s Invalid Subpoena Duces Tecum
                                                                                            2
Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 3 of 6 PageID #: 3671



      IV. CONFERENCE WITH PLAINTIFF TO AVOID THE COURT’S INTERVENTION

               10.         On April 22, 2020, Retzlaff conferred with Van Dyke by e-mail and

   explained in detail the legal basis of the foregoing motion to quash. Exhibit 3.

   Retzlaff’s counsel suggested that Van Dyke “save [him] the trouble of filing a

   motion to quash” and withdraw the invalid March 27, 2020, Wordpress subpoena

   duces tecum. Id. Although Van Dyke respectfully expressed his disagreement

   with counsel’s interpretation of this Court’s Local Rules, he nevertheless agreed,

   writing, “I agree to withdraw the subpoena and request a new one from the

   clerk….” Retzlaff’s counsel responded, “Perfect. Thanks!!” Id.

               11.         Unfortunately, Retzlaff has received no proof that Van Dyke did as

   he promised. Since the deadline specified in the invalid subpoena for compliance

   is today, April 24, 2020, Retzlaff now has no choice but to file this motion seeking

   the Court’s intervention.

                                                 V. CONCLUSION & PRAYER

               12.         Because Van Dyke was not authorized to practice law in this Court

   when he signed a subpoena duces tecum to Automattic, Inc., d/b/a Wordpress, on

   March 27, 2020, the subpoena is invalid. Since there is no evidence Van Dyke

   followed through with his written promise to withdraw the invalid subpoena,

   Retzlaff prays that the Court quash the subpoena and grant Retzlaff such other and

   further relief, at law or in equity, as to which Retzlaff shall show himself justly

   entitled.



   Van Dyke v. Retzlaff
              Retzlaff’s Motion to Quash Plaintiff’s Invalid Subpoena Duces Tecum
                                                                                           3
Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 4 of 6 PageID #: 3672



   Respectfully submitted,



   By:          /s/ Jeffrey L. Dorrell
   JEFFREY L. DORRELL
   Texas Bar No. 00787386
   Federal ID #18465
   jdorrell@hanszenlaporte.com
   14201 Memorial Drive
   Houston, Texas 77079
   Telephone 713-522-9444
   FAX: 713-524-2580
   ATTORNEYS FOR DEFENDANT THOMAS RETZLAFF




   Van Dyke v. Retzlaff
              Retzlaff’s Motion to Quash Plaintiff’s Invalid Subpoena Duces Tecum
                                                                                    4
Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 5 of 6 PageID #: 3673



                                        CERTIFICATE OF CONFERENCE

           I hereby certify that, as described in more detail in ¶¶ 10-11 of the foregoing
   motion, on April 22, 2020, I conferred by e-mail with plaintiff Jason Van Dyke in an
   attempt to avoid the Court’s intervention in a discovery dispute. Plaintiff advised me
   that, although he did not agree with my interpretation of local rules, he would
   nevertheless withdraw the invalid subpoena that is the subject of the foregoing motion to
   quash. Unfortunately, I can find no evidence that Van Dyke did as he promised,
   necessitating this request for the Court’s intervention.



              /s/ Jeffrey L. Dorrell
   JEFFREY L. DORRELL




   Van Dyke v. Retzlaff
              Retzlaff’s Motion to Quash Plaintiff’s Invalid Subpoena Duces Tecum
                                                                                          5
Case 4:18-cv-00247-ALM Document 161 Filed 04/24/20 Page 6 of 6 PageID #: 3674



                                              CERTIFICATE OF SERVICE

          I certify that on         4-24       , 2020, the foregoing was electronically filed
   using the Court’s CM/ECF filing system, which will provide notice and a copy of this
   document to the following if a registered ECF filer in the United States District Court for
   the Eastern District of Texas, Sherman Division.

               Mr. Jason Lee Van Dyke
               Plaintiff, Pro Se
               P.O. Box 2618
               Decatur, Texas 76234
               Telephone: 940-305-9242
               jasonleevandyke@protonmail.com



              /s/ Jeffrey L. Dorrell
   JEFFREY L. DORRELL




   Van Dyke v. Retzlaff
              Retzlaff’s Motion to Quash Plaintiff’s Invalid Subpoena Duces Tecum
                                                                                            6
